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                                        BETSY COMBIER
                                315 East es"" Street, Apt. 4C
 mmL                                  New York. N.Y. 10065
                                          917-596-1762
                                                                              JUL 23 2018


                                   Betsv.combier(a)amail.com
                                                                       PRO SE OFFICE

                                                           January 8, 2018

    Hon. Margo K. Brodie
    United States Federal Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, N.Y. 11201

    Hon. Roanne Mann
    United States Federal Court
    Eastern District of New York
    225 Cadman Plaza East
    Brooklyn, N.Y. 11201
\         Sa
               C/2J^>              RE: Combierv. Portelos, et. al.
                                    Docket No.: 1:17-CV-02239

    OBJECTIONS TO THE REPORT AND RECOMMENDATION OF CHIEF MAGISTRATE
                                    JUDGE ROANNE L. MANN

    Dear Judges Brodie and Mann,

    I am submitting to you both copies of my Objections to the Report and
    Recommendation of Magistrate Roanne L. Mann.

    I was asked to submit these Objections on or before July 23, 2018 in order to preserve
    my right to an Appeal, and I am complying with this request.
    An exact copy is sent by FEDEX to Lucio Celli

    Thank you.
                                                                       '<v\
    Respectfully,


    Elizabeth Betsy Combier
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  ELIZABETH "BETSY" COMBIER,
                                 Plaintiff           DOCKET NO, 17-cv-02239(FB)(RLM)
        -against-                                     OBJECTIONS TO THE REPORT AND
                                                             RECOMMENDATION OF
                                                    MAGISTRATE JUDGE ROANNE L. MANN
  FRANCESCO PORTELOS,LUCIO CELLI,
  BRYAN GLASS,ESQ.,JORDAN HARLOW,ESQ.,
  NEW YORK CITY DEPARTMENT OF
  EDUCATION,CARMEN FARINA,CHANCELLOR
  OF THE NEW YORK CITY DEPARTMENT OF
  EDUCATION,all sued individually and officially.

                                Defendants




         PLAINTIFF ELIZABETH "BETSY" COMBIER,proceeding pro se respectfully
 clarifies the facts in her Second Amended Complaint("SAC")and objects to the Report and
 Recommendation written by Chief Magistrate Judge Roanne L. Mann ("Report"), dated July 5,
 2018 with a due date of July 23,2018 as follows:
 The Report says, on p. 2,that "This case involves what is essentially a dispute between private
 parties competing to represent tenured New York City public school teachers in disciplinary
 hearings". This is, in my opinion, not what this case is about, and Francesco Portelos and Lucio
 Celli are not acting as cited in my Complaint, as private citizens, but as teachers, educators and
 state actors. Attorneys Bryan Glass and Jordan Harlow are also state actors in this matter,
 because they worked closely and collaborated with Portelos and Celli as they created a scheme to
 deny me my livelihood, as an advocate for NYC Department employees who are undergoing
 some kind of disciplinary challenge or charges.
 To prevail in a 42 U.S.C.S. § 1983 suit, a plaintiff must show that the defendant is a state
 actor. A private party is only considered a state actor in the "rare circumstances" that the private
 party meets one ofthree recognized tests: the State compulsion test, the public function test, or
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   the nexus/joint action test. To meet the State compulsion test, the State must have "coerced or at
   least significantly encouraged" the complained-of action. The public function test requires that
   the private party was performing a public function "that was traditionally the exclusive
   prerogative ofthe State. I believe that the actions of Attorney Bryan Glass have shown proximate
  cause to be considered a state actor collaborating with Francesco Portelos and Lucio Celli on
   destroying my business as an advocate to achieve private gain.
  The analysis of C.F.A.A. in the Report focuses on one clause,#5, where a computer is destroyed.
  The C.F.A.A. that I used for my complaint encompasses the improper access to information and
  data, and that is what happened here. Portelos, a computer teacher and engineer, used his
  knowledge to hack into my email and blog, and steal the post that he liked, about Carmen Farina
  talking to her "army" oflawyers and arbitrators in 3020-a hearings(February 2015). Portelos,
  always a state actor(everything he sends out has his name as an "Educator" on it).
  Also,I am not in competition with any one as far as 3020-a tenured teachers' disciplinary
  hearings. 1 have sat in and worked on 3020-a hearings for fifteen years. Francesco Portelos was
  charged with 3020-a and sat through his hearing. He has no other knowledge ofthe process.
  Lucio Celli, as far as I know,has not been charged with 3020-a, although he is now sitting in a
  rubber room in the Bronx,and probably will be charged in September. Bryan Glass does not do
  3020-a hearings now,and may have worked on 4-5. Jordan Harlow may have worked on 9-10
  3020-a hearings. I have studied the decisions of arbitrators in 3020-a cases submitted to NYSED
  since 1990, and am considered by many to be an "expert" in this limited area ofteacher
  discipline.
 I filed the Complaint because two public school teachers acting as NYC Department of
 Education school employees/state actors, not private citizens, colored themselves with the law to
 defame me,interfere with my business, make serious claims that violate N.Y.S. Penal Code
 240.50 and other State laws,as state actors because they took on duties allowed only by the
 State, namely posting online notices that I was a criminal, and thief. They were, and are, acting
 as state actors in supposedly cleaning up"the harm I have done to employees. Those
 conclusions were baseless, and only available to law enforcement to conclude. Both Portelos and
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  Celli did not claim at any time over the past three years that their conclusions were their
  'opinion'.

  Francesco Portelos used his so-called "fame" as an anti-UFT activist to spread malicious
  information about me that he knew was not true, on facebook, his UFT Solidarity websites, and
  his own website,"Educator Fights Back" as an "Educator". On p. 24 of my SAC,I copied
  Portelos' email which was sent to his listserv and placed onto his facebook page and website:

  "Apparently, others have been warning about this for some time, and if you have been burned,

 join the others in the complaint. We have enough trouble with our employer and union. We don't
  need another obstacle when it comes to surviving. www.tinvurl.comBetsvCombier"(the poster
  about me being a criminal).


  He sent this out as "Educator".


  Portelos is not speaking as a private citizen or a UFT representative, but as a NYC DOE

 employee,an "Educator" state actor, supposedly "protecting" all other employees from me,the
  criminal.



 Second, at no time have I ever acted as an Attorney, told anyone I was an Attorney, signed
 papers as an Attorney, or in any way falsified my credentials so that people believed I was a
 lawyer. I never stole any money from Lucio Celli and I was never barred from 3020-a hearings. I
 never stole or used my husband's account at Hunter College. Everything that Lucio Celli
 submitted to this Court is a lie. Attorneys Bryan Glass and Jordan Harlow also lied about me in
 their papers, saying I have a long history of defaming them and libeling them. How? When? I
 have given my opinion, and I submitted examples of what I know to be specific examples of
 their slander of me to clients. They claimed that I was barred from 3020-a hearings, which is an
 absolute lie.

 Portelos' claim to fame is that he discovered wrong-doing by Linda Hill, the former Principal at
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  I.S. 49 in Staten Island, and he spoke about it to the School Leadership Team. He was then
  crushed by his employer the NYC Department of Education with 38 charges of misconduct, and
  he was found guilty of many ofthese charges in a decision dated April 30,2014 by Arbitrator
  Felice Busto.

  p. 57-58 in the documents sent to Judge Mann(Docket 117, dated 5/03/18) has the following
  statements made by Arbitrator Busto in her decision against Portelos:
  "The Department takes issue with one of Respondent's main defenses that he could engage in
  conduct as long as it was not illegal. Respondent is required to follow the regulations and
  policies ofthe Department that also may proscribe conduct even ifthat conduct is legal
  The Department submits that Respondent was duplicitous in his testimony and that many of his
  actions were driven by paranoia and his desire to have power. His postings on his blog are
  riddled with sarcasm and violent images....The Department maintains that Respondent has
  shown that he will go after any individual who he believes has wronged him       [he] stopped at
  nothing to humiliate or denigrate them....The atmosphere that Respondent created offear and
  mistrust is not conducive to learning and does not provide a good example to children....the
  Department maintains that none ofRespondent's dismptive behavior resulted from his union
  position or his right to free speech   rude,insolent and disrespectful behavior is not protected
  even when expressing legitimate union or labor related concems....Respondent felt entitled to
  act asjudge,jury and executioner in making accusations, collecting evidence on his own and
  then drawing his own conclusions with complete disregard ofthe official investigators who are
  charged with making these determinations,[p. 60]
  Further, with respect to the penalty, the Department contends that Respondent is beyond
  remediation. When you are an enemy ofPortelos it is"no holds barred" because he continues to
  malign people even when conduct is unsubstantiated by agencies, grievances are denied or cases
  are dismissed by a court oflaw.
  Respondent has also demonstrated that he does not believe that the rules apply to him."
  The Department asked that Busto fire Portelos. Busto did not fire Portelos, but did warn him
  about continuing his misconduct,(see pp. 103-107, Busto Decision, Docket #117)
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   Ofnote is this statement on p. 104:

  "The new[NYC DOE Social Media] guidelines, promulgated
  in the spring of 20p,do not ban personal blogs and further state that they alone will not
  be used for disciplinary purposes absent a showing of a violation of regulation, law or
  policy."
  And,
  "At the same time, Respondent, in his quest to defend
  himself, lost sight of the fact that the Department is his employer, and not his enemy.
  Notwithstanding the events of the last two years. Respondent must refocus his energies
  on their shared mission of educating children."(Busto, p. 106).
  True to form,Portelos, angry that the Department had charged him,and angry that his own
  Union had not supported him in his attacks on Principal Linda Hill, decided to put himself above
  the law and go after everyone who did, or does, not support him. He set up UFT Solidarity not as
  a cause inside the UFT,but as an anti-UFT mob which has the following mission:

    Issues at Your School" — An email no NYC principal wants to receive
  AUGUST 4, 2015
  Turning the tables. That's what progressive caucus UFT Solidarity began to do when members
  contact us that they are under warrantless attack. For almost a decade NYC DOE
  administrators had unfettered power to destroy careers. Problem with a teacher who grieves
  contractual violations or want to get rid of a pesky chapter leader? No problem. All a principal
  had to do was start building a paper trail of trumped up charges and fraudulent observations.
 Sometimes a simple phone call to the DOE's Office of Special Investigation (OSI) would do the
 trick. The teacher would be removed for months or years without knowing why they were
 removed. That's if they were tenured. If not, the would be discontinued and out in a few days.
 The union? The UFT has been absent in thwarting attacks against members and sometimes is
 actually involved in helping the members get railroaded See(UPDATED)Bizarre Behavior
 Coming from Queens UFT Office.So what is a member under attack to do? Well, luckily we live
 in the age of technology and have come up with some tools to fight back. This is how it works,
 and it does work.(Not all the time but it's getting better.)
 At UFT Solidarity, we have collaborated on an email we send to administrators who are bullying
 and harassing our members. The email is written in a way where we let the administrator know
 that the members in their school and not sitting ducks and will have support. We let the
 administrator know that we are educating their staff on how to fight back and encourage them to
 support and not continue their attacks. What we hope, or assume, happens is that that the
 administrator sends it to their superintendent and DOE lawyers. In turn we hope that the
 superintendent and lawyers respond to the administrator with something like this:
 "Oh no. We have seen these before and it can get ugly. Expect there to be Freedom of
 Information Law requests on your records such as time cards, financial records and emails.
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  They even obtain video surveillance footage. Your staff is probably already secretly recording
  you. Expect stories of you to be added to social media with comments being added by staff,
  students and parents. You will be added to their Administrator's in Need of Improvement(ANOI)
  list online if you have not been already.uftsolidarity.org/anoi. Expect them to launch
  investigations on anything you have done that violates a chancellor's regulation, policy or law.
  Investigators will be coming. Finally, expect a group of their members and your staff and
 students, albeit small, to be outside your school with flyers and signs. If you have not bought a
  Costco size bottle of Tylenol, then we suggest you do that."
  At least that is what we hope the lawyers tell the administrator and they second guess their
 future actions.
 The Email:


  Principal X,


  Unfortunately your school has come to the attention of our teacher advocacy group. Apparently
 there are allegations of harassment and unwarranted attacks on educators at your school. As
 you could imagine, an atmosphere of workplace bullying and harassment is not conducive to a
 nurturing learning environment for our students.
 Just as a courtesy, we are letting you know that we are educating your staff members with
 information on how to defend their careers so they may continue to instruct and nurture students
 to their fullest potential. Those tools can be in the form of legally audio recording, using the
 Freedom of Information Law to obtain information necessary to prove their allegations against
 you, organizing rallies and creating various social media articles.
 Perhaps your best recourse would be to speak with the superintendent, your senior field
 counsel and Borough Support Center representative, to figure out ways to support educators
 rather than treading on their careers.
 Thank you.
 Sincerely,
 UFT Solidarity
 "Building a stronger union."
 If you don't believe me,then you can perform an internet search on many of the administrators
 we have listed on our ANOI list. You can ask Principal Micheaux and AP Martinez of the Bronx.
 Ask Principal Adonna McFarland or Principal Namita Dwarka. Our list is over 100. Namita
 Dwarka and her school has been on the cover of the NY Post the last three days. The brave
 people responsible are UFT Solidarity members and supporters who have been following our
 playbook.
 Also see our campaign page as our team and platform are growing. For this reason I have not
 been able to blog much here. My time has been spent building and organizing with great
 educator activists and enjoying time with my family. My sleeves are rolled up and we are ready
 to increase our work this September. Our ATR Alliance group is also growing and becoming
 more knowledgeable. A similar letter is being drafted for ATR Field Supervisors.
 As we delve deeper into the UFT 2016 campaign season, expect more push back in more
 schools. We will bring positive change one way or another. Improving the classroom settings will
 improve the classroom learning.
 UFT Solidarity - "Building a Stronger Union."
 UFTSolidarity.org
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   Join us on Facebook https://www.facebook.com/UFTSolidarlty
   Follow me on Twitter: https://twitter.com/mrportelos

   Here is the link:

  http://ediicatorfightsback.org/issues-at-vour-school-an-email-iio-nvc-priiicipal-wants-to-receive/
  When Portelos came out with his "Don't Tread on Educators" website and the "Administrators in

  Need ofImprovement" or "A.N.O.I." list of"bad" principals, I heard from several teachers who
  had been charged ivith 3020-a charges that they were targeted after they saw that the principal
  was on the list. I mentioned this to a few of my friends, and former ATR Laurie Luft asked

  Portelos if he knew that his list was putting some teachers in danger ofreceiving 3020-a charges.
  Both Laurie and I were immediately attacked by Portelos. I told him that I believed his websites
  to be libelous and inappropriate.

  The nail in my "coffin" came at the end of August 2015, when Portelos met with Randi

  Weingarten about getting hired by the UFT,and Randi did not hire him. In fact, she told Portelos
  she thought I did a greatjob as a Special Representative at the headquarters, 2007-2010. On
  September 20,2015,Portelos held a meeting for teachers who were angry at the UFT and DOB
 just like he was,and videotaped former UFT newspaper reporter(he was fired by Randi in
  August 2010)Jim Callahan sa3dng I was a homophobe and should never have had ajob with the
  UFT.I was shocked. I am not a homophobe,and never discriminate against anyone unless there
 is abuse and violence. I called Portelos and asked him to take down this video, or at least edit out
 the slander I saw and heard on the video(Lucio Celli sent it to me). Portelos screamed at me to
 shut up,that I think I am so wonderful but he would show that I am not, and told me never to call
 him again. We have never spoken, but I have continuously begged him, Celli, and Glass and
 Harlow to stop their vicious online attacks. All in vain. Portelos needed to base his lies on
 someone who would freely perjure himself. Thus,the team ofPortelos and Celli began,in 2016.
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  Then, starting in October 2016 when I was sent the poster about my "criminal acts", I heard that

  Portelos and teachers in NYC who follow him were filing a lawsuit against me,and the lawyers

  were Bryan Glass and Jordan Harlow.


  All tenured employees at the Department of Education have the following language in the

  charges:"conduct unbecoming". But what does that mean? As a parent offour children who

  went through the public schools of NYC,I believed that my daughters' teachers were

  exceptional, moral and ethical people who would protect my daughters from harm. The standing
  of"in loco parentis" has been applied to teachers - they have the rights and responsibilities ofa

  parent while the student in under their care. This is a comparison only, as it is superseded

  somewhat by the fact that teachers are government workers. However,in some areas, this

  comparison ofteacher to reasonable parent exists and is the 'norm'. Teachers are supposed to be
 role models for young minds. Instead, Portelos and Celli have done just the opposite. Celli's

 repulsive language, his falsification of all reality, his allegations against anyone who he thinks

 betrayed him, is well known to the NYC DOE through Celli's incessant sending of emails to
 everyone in New York City. Judge Brodie cited him for his papers submitted to her(see docket
 #135,5/22/2018). Judge Brodie also cites the unpublished emails sent in Celli's own Federal

 Lawsuit as disturbing. I am not alone in believing that Defendant Lucio Celli is a state actor who

 is mentally ill. He needs medical attention.


 Sadly, should this case be dismissed, both Celli and Portelos will have a field day making fun of
 me,the Federal Courts, and the Judges.

 On May 31, 2018,1 was surprised to see an email from Portelos as follows, and please take note
 that all emails sent by Portelos now and in the past list him as "Educator":
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  "Francesco Porteios <nnrportelos@gmail.com>                                                                         Ma
                                                                                                                      y
                                                                                                                      31

  to me

  Betsy,

   I hope this email finds you well. I'm in the process of filing a suit against you. Not a counter suit, but a whole
  new suit based on information I've obtained and how you have worked on violating my rights. Some information
  through your own admission in court.

    In lieu of filing, and having all the time and trouble it takes for appearances, travel, motions and responses,
  I'm offering you a chance to settle our dispute and differences.

  In a nutshell, I take all references to you off the web, that I'm in control of, and you do the same. We cease and
  desist from talking about each other online and offline to people, including the emails you are sending to those
  I'm involved with in and outside the DOE. We forget each other exist and move on.

  Let me know soon.

  Francesco A. Porteios
  Educator
  www.EducatorFiahtsBack.ora



  On July 20,2018 I received the following from a NY POST Reporter, who received it from Lucio Celll:
  Morning Ms. Eldelman,

  Teil Betsy that she needs to demand "mandatory recusal" of Hon. Mann and Hon. Brodie because they with
  Hon. Cogan sent the US Marshalls to my house and lost the privilege to hear the case against me and
  Porteios

  A judge is not allowed or has discretion to sit to hear a case when they have personal knowledge
  Or to hear case that a judge worked at a law firm (like Cogan—he was a partner) did for the uFt) or when Randi
  told me that Cogan worked a case similar to mine when he was of counsel to the uft —this was prior to Randi
  blocking me

  Confidential" texts fromLucio;

  I will support Betsy's motion, if she were to file it.... the decision is in my favor but justice has to have the
  appearance of justice

  When you're ready for more videos, i stili have them
  I want to make this who needs to have more shame them or me

  Sent from my iPhone


  On p.6 ofthe Report, Magistrate Mann states that there are no allegations regarding Chancellor
  Farina or the DOE in my SAC. I object, and ask for reconsideration ofthis statement.
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   The vicarious liability I wrote about in my SAC stems from the fact that Portelos, Celli, Glass
   and Harlow are all participants in the 3020-a disciplinary process ofDOE employees which I say
   and write on my blogs is seriously in need ofrevision. In fact, the disarray ofthe DOB in using
   Education Law 3020-a appropriately and fairly is the subject ofthe 3020-a Arbitration Newswire

   postings that were stolen from my blog NYC Rubber Room Reporter in July 2016.1 also cited a
   FOIL request for the information about a meeting held by Carmen Farina in February 2015,and I
   wrote the following on the information only I got, concerning Carmen Farina's personal view of
  the disciplinary process of 3020-a:

  The 3020-a Arbitration Newswire: Digging Up The Garbage On the UFT/DOE Partnership
  of Harm For Charged DOE Employees
  http://mcrubberroomreporter.blogsDot.eom/2016/05/the-3020-arbitration-newswire-
  digging 28.html


  Portelos violated my terms ofservice, which says that all information used by anyone that comes
  from my blogs must attribute the material to me. My DISCLAIMER has been on the blog since I
  started it in 2007:

  "DISCLAIMER

  This page states the general terms of use under which you,the blog visitor(hereinafter "you",
  "user", or "visitor") may use NYCrubberroomreporter.blogspot.com. By reading this blog, you
  agree to all ofthe terms set forth below. You may reprint, copy, and use any article on this
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  This blog reserves the right,in its sole discretion, to change any or all ofthe provisions ofthis
  "Terms of Use & Disclaimer Agreement" at any time; the agreement in effect at the time of your
  use shall govern your use and your use after the effective date ofany changes to these Terms will
  be deemed acceptance of your acceptance ofthe changes.
  We have followed what we believe to be the guidelines of US Code TITLE 17, Chapter 1,
  Section 107: FAIR USE:"the fair use of a copyrighted work,including such use by reproduction
  in copies or phone records or by any other means specified by that section,for purposes such as
  criticism, comment,news reporting, teaching, scholarship, or research, is not an infringement of
  copyright." We will, if asked with good reason to remove any material from our site that the
  original owner feels may jeopardize their standing before the Law,do so. We oppose violence of
  any kind, disrespect, verbal or physical abuse, and any kind oftheft or hurtful behavior toward
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   anyone at any time, and expect all users ofthis blog to be mindful ofthese values and use the
   information we have collected in good faith. We have made every effort to describe the actions,
   not motives, of public people, and we have supported everything that we post with documents to
   prove the validity of what we say in order to not make any fraudulent or false claims.
   We believe that it is a civic duty to expose wrong-doing,and we have the legal right to name the
   perpetrators who pursue illegal activities as defined by the respondents to their actions. If a
   public official or employee writes, says, or does anything that is against the Laws ofthis country
  or that falsifies data which leads to the intentional infliction ofemotional distress, harassment,
  verbal and/or physical abuse ofa student/parent/teacher, we claim license to post the acts ofsuch
  people on our website, v^dth the name ofthe perpetrator. The truth is not defamatory. We claim
  that we are not "out to get" any particular person.
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  and therefore need to be as complete and user-friendly as possible. In the area oflistserv sign
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  on our site, all information is collected on a strictly voluntary and conridential basis, and will not
  be sold, used or released for any third-party purpose. We do not permit any transactions ri*om or
  by any person who is 13 years old or younger."
  From the day that I posted this article, with the video and the transcript and vouchers for all
  attendees, I have used Carmen Farina's view that tenure rights can be usurped by speedy trials in
  all my hearing closing arguments.

  Franceso Portelos hacked into by blog in July 2016 and deleted everything that was on the right
  column. He then posted the video on his website as part of his 3020-a Guide,saying he
   obtained the mformation. I was able to put back the video and transcript that I obtained
  through FOIL, but a lot of my links were too many to replace.
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  My blog is an electronic communication service, has emails, and people email me every day. I
  answer any which are not anonymous, and I will not post insulting emails.

  I do not sell a product on my blog, but I do use this blog as an electronic bulletin board on what

  is happening in the world ofthe NYC DOE and disciplinary hearings. My business has been
  destroyed by Portelos and Celli, as can be seen by the fact that whereas I used to have ten or

  more 3020-a hearings per school year, now I have 1-3.

  I believe that I have made a cause of action for 1983 claims for consideration by this court as
  well as the State Law claims, and I hope that this case can move forward.

  Dated: July 23,2018



                                                       Elizabeth Combier
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